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AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COUR Sauter Distt of tas
= DEC 07 208

Clerk of Court
Case No. M-— is - A) oUY- M

 

Southern District of Texas

United States of America
Vv.

LUIS GERARDO BETANCOURT,
United States Citizen, 1996

CRIMINAL COMPLAINT

 

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of December 4, 2015 in the county of Hidalgo in the

 

Southern District of Texas , the defendant(s) violated:

Code Section Offense Description

18 U.S.C. 1001 (a)(2) Whoever within the jurisdiction of the executive branch of the Government of
the United States, knowingly and willfully makes any materially false,
fictitious, or fraudulent statement or representation.

This criminal complaint is based on these facts:

SEE ATTACHED

a Continued on the attached sheet.

Al prod Sy ybhhA—

Complainant’s signature

Denid A. Lo ndeam Al. Special Agent Lunetle A. Linn

rinted nate and title

 

 

Sworn to before me and signed in my presence.

Date: 12/07/2015 acess. t 4 Abe

. Judge ’s signature
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City and state: McAllen, Texas WAS Mac ietrate. udg c
Printed name and title

 
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Attachment “A”
Affidavit

1. On or before November 30, 2015, a Mexican national female (MNF1) residing in Florida
and present illegally in the United States paid a coyote to bring her minor daughter from
Mexico to her residence in the United States(U.S.). On December 1, 2015, an unidentified male
(UM), contacted MNF1 and stated her daughter and a friend were transported to the U.S. and
that MNF1 would need to deposit the remaining fees for her daughter, and the three others
being transported with her daughter. MNF1 explained to the UM the amount of money the
UM was asking for was more than MNF1 had previously agreed to. The UM told MNF1 to do
whatever she needed to do in order to get the money and if MNF1 did not they would kill
MNF1’s daughter.

2. From approximately 9:13 a.m. to 10:23 a.m. central standard time (CST) on December 2,
2015, a UM called MNF1, utilizing telephone number ending in 8716, multiple times and
pressed her to deposit money, or they would kill MNF1’s daughter. The UM asked MNF1 if she
wanted to hear her daughter scream, and threatened to cut off her ear or fingers.

3. On December 3, 2015, the UM contacted MNF1 and demanded another $18,000. MNF1
explained that she only had another $1,000 to give. The UM stated he would sell MNF1’s
daughter for the requested amount. The UM continued to call MNF1 from a Mexico based
phone number, ending in 2011.

4. On December 4, 2015, Special Agents of the Federal Bureau of investigation (FBI)
received the aforementioned information. Agents contacted Metro PCS and executed an
exigent circumstances request on telephone number ending in 8716, subscribed to by LUIS
GERARDO. This phone pinged near the 7600 block of Blanca Road, Pharr, Texas. Agents
conducted surveillance and noticed a dark colored Ford truck registered to LUIS G
BETANCOURT.

5. At approximately 8:07 p.m. central standard time (CST), Agents conducted a welfare
search at 7609 Blanca Road, Pharr, Texas. LUIS GERARDO BETANCOURT was located in the
residence and stated the white Samsung phone, phone number ending in 8716, was his.
BETANCOURT was then transported to the FBI office in McAllen, Texas. At approximately 10:07
p.m. CST, he was read his advice of rights and agreed to speak with Agents. During the
interview BETANCOURT stated that he was not currently involved with any illegal activity to
include the smuggling of undocumented aliens into the United States.

6. When Agents asked BETANCOURT about telephone number ending in 2011, listed as
“CHRI” in his Samsung phone, he stated on the evening of December 1, 2015, while traveling in
Reynosa, Tamaulipas, Mexico BETANCOURT was stopped by CHRI. This was the first time he
met CHRI. BETANCOURT felt intimidated and feared getting hurt or having his truck stolen, so

GOVERNMENT
EXHIBIT

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hond
he gave CHRI a ride. During this ride CHRI utilivending in 8716 and BETANCOURT’s blue ZTE
flip style phone, telephone number ending in 7973, to make multiple phone calls. After
approximately three hours, BETANCOURT dropped CHRI at an unknown location in Reynosa,
and BETANCOURT crossed back into the U.S. alone. BETANCOURT stated since he met CHRI,
CHRI had been calling him and BETANCOURT tried to talk to him back; however, BETANCOURT
stated that he hung up on CHRI when he called. He further stated that CHR! would do the same
when BETANCOURT returned his phone calls.

7. Analysis of the phone Samsung phone 8716 revealed the following events with
telephone number 2011: Beginning at approximately 12:05 a.m. CST on December 1, 2015
through December 4, 2015, there were approximately, 8 incoming calls lasting between 18
seconds and 6 minutes and 25 seconds. Approximately, 28 outgoing calls lasting between 1
second and 2 minutes and 58 seconds. The total duration of incoming and outgoing was
approximately 43 minutes and 19 seconds. There were also nine text messages. Between 9:43
p.m. and 9:54 p.m. CST on December 3, 2015, there were six outgoing messages, from phone
number 8716 to 2011, that discuss the purchase of food and going to the other side.

8. A search of Department of Homeland Security (DHS) records revealed, BETANCOURT
traveled from Mexico to the U.S. at approximately 11:42 p.m. EST on December 2, 2015 and at
approximately 11:19 p.m. CST on December 3, 2015.

9. BETANCOURT stated to FBI Special Agents that he met the individual he associates with
phone number ending in 2011, between the evening hours of December 1, 2015, and when he
crossed back into the U.S on the same day. BETANCOURT further stated that he did not have a
conversation with the user of 2011. According to DHS records, BETANCOURT crossed back into
the U.S. at 10:42 p.m. CST on December 2, 2015. Prior to 5:45 p.m. CST on December 2, 2015
there were approximately 5 incoming calls and 36 outgoing calls, between 2011 and 8716, and
a total duration of approximately 25 minutes. Additionally there were three text messages prior
to 5:45 p.m. CST on December 2, 2015.
